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                                EXHIBIT B (contd.)

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                                                                                  Velva L. Price
                                                                                  District Clerk
                                                                                 Travis County
                                NO. D-1-GN-18-001835                          D-1-GN-18-001835
                                                                                 Selina Hamilton
   NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                     Plaintiff,            §
   v.                                      §            TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,           §
   FREE SPEECH SYSTEMS, LLC, and           §
   OWEN SHROYER,                           §
                     Defendants.           §             345th JUDICIAL DISTRICT


                                 D-1-GN-18-001842
   LEONARD POZNER AND                     §          IN THE DISTRICT COURT OF
   VERONIQUE DE LA ROSA                   §
                     Plaintiffs,          §
   v.                                     §             TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
                     Defendants.          §             345th JUDICIAL DISTRICT


                                 D-1-GN-18-006623
   SCARLETT LEWIS                         §          IN THE DISTRICT COURT OF
                     Plaintiff,           §
   v.                                     §             TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
                     Defendants.          §             345th JUDICIAL DISTRICT

      DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
                 REGARDING CORPORATE DEPOSITION




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Jacquelyn Blott on behalf of Jacquelyn Blott
Bar No. 7473250
law.jacquelynwblott@gmail.com
Envelope ID: 62398049
Status as of 3/11/2022 10:19 AM CST

Associated Case Party: NEIL HESLIN

Name                   BarNumber    Email                           TimestampSubmitted     Status

Mark D.Bankston                     mark@fbtrial.com                3/8/2022 11:58:31 AM   SENT

Avishay Moshenberg                  avi.moshenberg@mhllp.com        3/8/2022 11:58:31 AM   SENT



Associated Case Party: ALEXEJONES

Name                 BarNumber   Email                    TimestampSubmitted Status

Jacquelyn W.Blott                jblott@jblottlaw.com     3/8/2022 11:58:31 AM   SENT



Case Contacts

Name                  BarNumber Email                                  TimestampSubmitted Status

Warren Lloyd Vavra    786307       warren.vavra@traviscountytx.gov     3/8/2022 11:58:31 AM   SENT

Velva Lasha Price     16315950     velva.price@traviscountytx.gov      3/8/2022 11:58:31 AM   SENT

William Ogden                      bill@fbtrial.com                    3/8/2022 11:58:31 AM   SENT

Norman Pattis                      npattis@pattisandsmith.com          3/8/2022 11:58:31 AM   SENT

Carmen Scott                       carmen@fbtrial.com                  3/8/2022 11:58:31 AM   SENT

Jacquelyn W.Blott                  jblott@jblottlaw.com                3/8/2022 11:58:31 AM   SENT



Associated Case Party: INFOWARS LLC

Name                 BarNumber   Email                    TimestampSubmitted Status

Jacquelyn W.Blott                jblott@jblottlaw.com     3/8/2022 11:58:31 AM   SENT



Associated Case Party: OWEN SHROYER
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Jacquelyn Blott on behalf of Jacquelyn Blott
Bar No. 7473250
law.jacquelynwblott@gmail.com
Envelope ID: 62398049
Status as of 3/11/2022 10:19 AM CST

Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                  TimestampSubmitted Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/8/2022 11:58:31 AM   SENT



Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber   Email                  TimestampSubmitted Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/8/2022 11:58:31 AM   SENT
